     Case 4:17-cv-00994-A Document 18 Filed 03/29/18   Page 1 of 1 PageID 94


                  IN THE UNITED STATES DISTRI T COU~T~.
                      NORTHERN DISTRICT OF TE
                          FORT WORTH DIVISION AS   ) __MAR                  2 9 21118
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STANDARD INSURANCE COMPANY,          §                 By~---::---~
                                                                           Deputy
                                     §             ----,~"~~~---,,--~-~~~-.-._,___           -- --~---_ .. __ -
            Plaintiff,               §
                                     §
vs                                   §    NO.   4:17-CV-994-A
                                     §
PHILLIP A. BOWLAND,                  §
                                     §
            Defendant.               §


                             ENTRY OF DEFAULT

      Plaintiff, Standard Insurance Company, has requested that

the Clerk of the Court enter default against defendant, Phillip

A. Bowland, pursuant to Federal Rule of Civil Procedure 55(a).

It appearing from the record that defendant has failed to appear,

plead, or otherwise defend.         The default of defendant is hereby

entered pursuant to Federal Rule of Civil Procedure 55(a).

      Dated this 29th day of March, 2018.




                             Karen s. Mitchell, Clerk
                             u.s. District Court
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                                                       Deputy Clerk
